        Case 1:20-cv-10832-AT-SN Document 187 Filed 05/17/21 Page 1 of 2




UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

                               Plaintiff,

v.

RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, and
CHRISTIAN A. LARSEN,
                                                                   20-cv-10832 (AT) (SN)
                                                                   (S.D.N.Y.)
                               Defendants,

and

JORDAN DEATON, JAMES LAMONTE,
TYLER LAMONTE, MYA LAMONTE,
MITCHELL MCKENNA, KRISTIANA WARNER and
ALL SIMILARLY SITUATED XRP HOLDERS,

                               Proposed
                               Intervenors.

                           DECLARATION OF JOHN E. DEATON

      I, John E. Deaton, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that

the following is true and correct:

       1. I am an attorney admitted to practice before this Court pro hac vice and the managing

           partner of The Deaton Law Firm, LLC., and I am counsel to Proposed Intervenor-

           Defendants in the above-captioned action.

       2. I respectfully submit this declaration in support of the Proposed Intervenors’

           Memorandum in reply to Plaintiff’s Opposition to Proposed Intervenors’ Motion to

           Intervene.

       3. Attached hereto as Exhibit A is a true and correct copy of Media Criticism of SEC

           Leadership.
       Case 1:20-cv-10832-AT-SN Document 187 Filed 05/17/21 Page 2 of 2




       4. Attached hereto as Exhibit B is a true and correct copy of various Twitter posts by

          John Deaton

       5. Attached hereto as Exhibit C is a true and correct copy of John Deaton’s satirical

          mock examination of Jay Clayton available here

          https://www.youtube.com/watch?v=qawpQ-242WI

       6. Attached hereto as Exhibit D is a true and correct copy of Media Criticism of SEC

          Enforcement Action

       7. Attached hereto as Exhibit E is a true and correct copy of Cambridge Dictionary

          definition of incompetent in English.



Executed on May 17, 2021, in East Providence, Rhode Island.



                                                           Respectfully Submitted,

                                                           /s/John E. Deaton

                                                           John E. Deaton




                                                  2
